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                               IN THE UNITED STATES BANUPTCY COURT

                                     FOR THE DISTRICT OF DELAWAR


In re:                                                       )        Chapter 11
                                                             )
W.R. GRACE & CO., et aI.,l                                   )        Case No. 01-1139 (JKF)
                                                             )        (Jointly Administered)
                               Debtors.                      )
                                                                 Objection Deadline: February 5, 2010 at 4:00 p.m.
                                                                    Hearing Date: February 16, 2010 at 10:30 a.m.

          NOTICE OF         MOTION OF DEBTORS FOR AUTHORITY TO ENTER INTO
                        LETTER OF CREDIT AND HEDGING AGREEMENTS AND
                                 TERMINATE CURRNT DIP FACILITIES

TO: Paries required to receive notice pursuant to DeL. Ban. LR 2002-1.

                        The above-captioned debtors and debtors-in-possession (collectively, the

"Debtors") fied the attached Motion of Debtors for Authority to Enter Into Letter of Credit and

Hedging Agreements and Terminate Current DIP Facilities (the "Motion") with the United




1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/kJa Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/ka Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limited Parters
I, Inc.), G C Management, Inc. (f/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Gra(.~e Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holding, Inc., Grace Nf, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/ka Nestor-
BNA, Inc.), MR Staffing Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross Countr
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.



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States BanptcyCour for the Distrct of                          Delaware, 824 Market Street, Wilmington, Delaware

19801 (the "Banptcy Cour"). A tre and correct copy of                          the Motion is attached hereto.

           Responses to the relief requested in the Motion, if any, must be in writing and be filed

with the Banptcy Cour no later than 4:00 p.m. (prevailing Eastern time) on February 5,

2010. At the same time, you must also serve a copy ofthe objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Theodore L. Freedman, Kirkland & Ells LLP,

Citigroup Center, 601 Lexington Avenue, New York, NY 10022-4611 (fax number 212-446-

4800), Janet S. Baer, The Law Offices of Janet S. Baer, P.c., 70 West Madison Street, Suite

2100, Chicago, IL-60602 (Fax number 312-641-2165); and James E. O'Neil, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 1 ih Floor, PO. Box 8705, Wilmington, DE

19899-8705 (Courer 19801) (fax number 302-652-4400); (ii) counsel to the Offcial Committee

of   Unsecured Creditors, Lewis Krger, Stroock & Stroock & Lavan, 180 Maiden Lane, New

York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane, Morrs &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax 302-

657-4901); (iii) counsel to the Offcial Committee of                    Property Damage Claimants, Scott L.

Baena, Bilzin, Sumberg, Dun, Baena, Price & Axelrod, First Union Financial Center, 200 South

Biscayne Boulevard, Suite 2500, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Oftcial Committee of                      Personal Injury Claimants, Elihu

Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-

3500 (fax 212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite

300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official Committee of

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Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue,

New York, NY 10022 (fax 212-715-8000), and Teresa K.D. Curer, Saul Ewing LLP, 222

Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

(vi) counsel to the Future Claimants' Representative, Richard H. Wyron, Swidler Berlin Shereff

Friedman, LLP, 3000 K Street, NW, Suite 300, Washington, DC 20007 (fax 202-424-7643), and

John C. Phillps, Jr., Phillps, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington,

DE 19806 (fax 302-655-4210); (vii) the Office of
                                                                the United States Trustee, Att: David

Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to

the Property Damage Future Claimants' Representative, Karl Hil, Seitz, Van Ogtrop & Green,

P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

0606) and Alan B. Rich, Law Offce of Alan B. Rich, Esq., 1201 Main Street, Suite 1910, LB

201, Dallas, TX 75202 (fax 214-749-0325).

                        IF NO OBJECTIONS AR TIMELY FILED AN SERVED IN

 ACCORDANCE WITH THIS NOTICE, THE BANKUPTCY COURT MAY GRAT THE

 RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARG.

                         IN THE EVENT THAT AN OBJECTION OR RESPONSE IS FILED AN

 SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARG ON THE MOTION WILL




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BE HELD BEFORE THE HONORABLE JUITH K. FITZGERALD ON FEBRUARY 16,

2010 AT 10:30 A.M., EASTERN TIM AT THE UNITED STATES BANKRUPTCY COURT,

824 MART STREET, WILMINGTON, DELA WAR 19801.


Dated: Januar 15,2010                          KIRLAND & ELLIS LLP
                                               Theodore L. Freedman
                                               David M. Bernck, P.C.
                                               Citigroup Center
                                               601 Lexington Ave.
                                               New York, New York 10022-4611
                                               Telephone: (212) 446-4800
                                               Facsimile: (212) 446-4900

                                               and

                                               THE LAW OFFICES OF JANET S. BAERP.C.
                                               Janet S. Baer, P.C.
                                               Roger J. Higgins
                                               70 West Madison Street, Suite 2100
                                               Chicago, IL 60602
                                               Telephone: (312) 641-2162

                                               and

                                               P ACHULSKI STANG ZIEHL & JONES LLP

                                                      Isl Kathleen P. Makowski
                                               Laura Davis Jones (Bar No. 2436)
                                               James E. O'Neil (Bar No. 4042)
                                               Kathleen P. Makowski (Bar No. 3648)
                                               Timothy P. Cairns (Bar No. 4228)
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                                               Telephone: (302) 652-4100
                                               Facsimile: (302) 652-4400

                                               Co-Counsel for the Debtors and Debtors in
                                               Possession




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